Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 1 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 2 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 3 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 4 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 5 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 6 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 7 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 8 of 52




                               ÿ
                               ÿ
                               ÿ
                               ÿ
                               ÿ
                               ÿ
                               ÿ
                2345657ÿ8ÿ
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 9 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 10 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 11 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 12 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 13 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 14 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 15 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 16 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 17 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 18 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 19 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 20 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 21 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 22 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 23 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 24 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 25 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 26 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 27 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 28 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 29 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 30 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 31 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 32 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 33 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 34 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 35 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 36 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 37 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 38 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 39 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 40 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 41 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 42 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 43 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 44 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 45 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 46 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 47 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 48 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 49 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 50 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 51 of 52
Case 1:22-cv-03402-JPO Document 18-1 Filed 05/04/22 Page 52 of 52
